     Case 2:16-cv-00287-cr Document 270 Filed 07/01/20 Page 1 of 13




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF VERMONT


GARRET SITTS, et al.,

      Plaintiffs,

v.                                        Civil Action No. 2:16-cv-00287-cr

 DAIRY FARMERS OF AMERICA, INC. and
 DAIRY MARKETING SERVICES, LLC,

      Defendants.


DEFENDANTS DAIRY FARMERS OF AMERICA, INC. AND DAIRY MARKETING
  SERVICES, LLC’S OPPOSITION TO PLAINTIFFS’ MOTION IN LIMINE TO
  EXCLUDE DEPOSITION DESIGNATIONS OF MIDLAND FARMS, INC. AND
                    CLOVERLAND FARMS DAIRY

                    EVIDENTIARY HEARING REQUESTED

REDACTED VERSION FILED PUBLICLY PURSUANT TO PROTECTIVE ORDER
          Case 2:16-cv-00287-cr Document 270 Filed 07/01/20 Page 2 of 13




       The Court should reject plaintiffs’ baseless attempt to exclude evidence that disproves a

key component of their case. In 2011, the parties in Allen v. Dairy Farmers of America, Inc., No.

5:09-cv-00230 (D. Vt.) (“Allen”), deposed representatives from the third-party milk processors,

Cloverland Farms Dairy (“Cloverland”) and Midland Farms (“Midland”), which purchased raw

milk from dairy farmers in Order 1 during the relevant periods of this litigation. Both Allen parties

questioned these witnesses at length, and the ensuing testimony revealed that Cloverland and

Midland vigorously competed against Dairy Farmers of America, Inc. and Dairy Marketing

Services, LLC (“DMS”) (collectively, “DFA”) as buyers for dairy farmers’ raw milk in Order 1—

on both price and quality—during the years for which plaintiffs claim damages. This testimony

goes to the heart of this case, and it directly refutes one of plaintiffs’ main arguments: that Order

1 farmers lacked options for their milk apart from DFA, and thus, could not escape the purported

anticompetitive effects of any alleged conspiracy or monopsony. Plaintiffs unsurprisingly want to

keep this damaging (to their case) testimony from the jury, but their attempt to paint the sworn

testimony of Mr. Cella (Cloverland) and Mr. Haseotes (Midland) as inadmissible hearsay is wrong

as a matter of law.

       Under Federal Rule of Evidence 804(b)(1), DFA’s designation of Midland’s and

Cloverland’s testimony constitutes “former testimony” that is admissible as an exception to the

hearsay rules. Rule 804(b)(1) does not—as plaintiffs suggest—predicate the admissibility of Mr.

Cella’s and Mr. Haseotes’ testimony on whether each individual plaintiff here had a personal

opportunity to cross examine Mr. Cella or Mr. Haseotes in Allen. The test for the admissibility of

former testimony under Rule 804(b)(1) is (1) whether Mr. Haseotes and Mr. Cella are unavailable
          Case 2:16-cv-00287-cr Document 270 Filed 07/01/20 Page 3 of 13




to testify at the upcoming trial (they are)1 and (2) whether plaintiffs’ “predecessor in interest” in

Allen—that is, the class—had “an opportunity and similar motive to develop [Mr. Cella’s and Mr.

Haseotes’ testimony in that case] by direct, cross, or redirect examination.” Fed. R. Evid.

804(b)(1).

       The Allen class did. Every plaintiff in this case belonged to the Allen class until settlement,

and the ability of the Cloverland / Midland testimony to prove that processors that are not alleged

conspirators competed against DFA as buyers of raw milk in Order 1 was every bit as relevant to

the conspiracy and monopsony claims in Allen as it is to the exact same claims here. That is why

both parties invoked the Midland / Cloverland testimony when arguing summary judgment in

Allen: it is highly probative of whether DFA eliminated competition for buyers of farmers’ raw

milk in Order 1. Plaintiffs’ argument that Class Counsel were not similarly motivated to develop

this testimony regarding farmer options ignores the case law on Rule 804(b)(1); the record in Allen;

and the deposition transcripts themselves, which include cross-examinations by Class Counsel on

this very issue. The Court should deny plaintiffs’ motion.

                                              ARGUMENT

I.     THE MIDLAND AND CLOVERLAND DEPOSITION TESTIMONY SATISFIES
       THE 804(b)(1) HEARSAY EXCEPTION

       A.      The Allen Class Was Plaintiffs’ Predecessor In Interest Because The Class
               Shared A Similar Motive To Test The Deponents’ Testimony Regarding
               Farmers’ Options for Selling Raw Milk In Order 1

       In urging the Court to find that Mr. Cella’s (Cloverland) and Mr. Haseotes’ (Midland)

testimony is inadmissible hearsay, plaintiffs argue that the class in Allen was not their predecessor




1
       Plaintiffs do not dispute that the designees in the Midland and Cloverland depositions are
unavailable under Rule 804(a)(5), because they do not fall under the Court’s subpoena power.
Thus, this Opposition will focus on the other elements of Rule 804(b)(1).


                                                 2
Case 2:16-cv-00287-cr Document 270 Filed 07/01/20 Page 4 of 13
Case 2:16-cv-00287-cr Document 270 Filed 07/01/20 Page 5 of 13
          Case 2:16-cv-00287-cr Document 270 Filed 07/01/20 Page 6 of 13




       That is why class plaintiffs spent pages of their summary judgment filings disputing the

fact that farmers in Order 1 had competitive alternatives to DFA—and why they explicitly

addressed the testimony from Midland and Cloverland in making this argument. See Pls.’ Separate

Statement of Facts in Supp. of Opp’n to Defs.’ Mot. for Summ. J. § I(A), Allen (Mar. 17, 2014),

ECF No. 488 (arguing that “

          ”); see also, e.g., Pls.’ Resp. to Defs.’ Statement of Undisputed Facts ¶¶ 41-68, Allen

(Mar. 17, 2014), ECF No. 488 (“SOF Resp.”) (arguing that processors including Queensboro,

Cloverland, Midland, Oakhurst, Elmhurst, and Byrne were not viable options for farmers in

Order 1) (emphasis added); see id. ¶¶ 48, 53-56.

       Plaintiffs’ conspicuous failure to mention this extensive history from Allen is unsurprising:

it defeats any argument that the class plaintiffs in Allen were not similarly motivated to cross-

examine or disprove Midland’s and Cloverland’s testimony about the competition they provided

DFA as buyers for raw milk in Order 1, and the options they provided Order 1 farmers. Because

the class and opt-out plaintiffs shared an identical motive for rebutting this testimony, the class

was the present plaintiffs’ “predecessor in interest” for purposes of the Rule 804(b)(1) analysis—

and the Midland and Cloverland deposition testimony is admissible at the upcoming trial.4




4
        Nor does it matter, that, according to plaintiffs, Class Counsel did not “have to deal with
individualized defenses or many of the arguments that Defendants have asserted in this case.” Pls.’
Mot. at 1. DFA’s individualized defenses relate to the required element of impact, and turn on the
unique, individualized circumstances of each plaintiff’s own farm and the ways in which those
circumstances affected his or her personal ability to bargain for higher premiums based on factors
like farm size, milk quality, and proximity to processors. The Midland and Cloverland testimony
here is relevant to a different issue—the extent to which DFA’s alleged misconduct prevented
other buyers of raw milk, like Cloverland or Midland, from competing with DFA and serving as a
viable alternative for farmers. As such, this testimony ultimately relates to whether a conspiracy
or monopsony violation occurred at all under Section 1 or Section 2 of the Sherman Act. This was
an issue the Allen class was equally motivated to pursue regardless of the absence of individualized
defenses in the class action.


                                                 5
            Case 2:16-cv-00287-cr Document 270 Filed 07/01/20 Page 7 of 13




       B.       Case Law Dictates That The Midland and Cloverland Testimony Is
                Admissible Under Rule 804(b)(1)

       The case law supports this conclusion. Federal courts, including those in this Circuit, have

not hesitated to find the “similar motive” requirement of Rule 804(b)(1) satisfied in cases involving

far weaker links between a current party and its predecessor in interest than those demonstrated

here. In Lloyd v. American Export Lines, Inc., for example, the Third Circuit found that two

entirely separate entities pursuing different causes of action in different venues shared a similar

motive to develop testimony on a particular event of common interest. 580 F.2d 1179, 1186-87

(3d Cir. 1978). Lloyd centered on an altercation between two crewmembers, Frank Lloyd and

Roland Alvarez, on the ship SS Export Commerce. Id. at 1181. Following the event at issue, the

Coast Guard conducted a disciplinary hearing against Lloyd, at which Lloyd testified about the

altercation. Alvarez subsequently sued the ship, Export, in federal court for negligence and

unseaworthiness, for failing to protect him from Lloyd despite Export’s knowledge of Lloyd’s

history of dangerous activity. Id. Lloyd was unavailable to testify in the civil case, and the district

court refused to admit his testimony from the Coast Guard proceeding under Rule 804(b)(1). Id.

at 1182-84. Reversing, the Third Circuit found that the Coast Guard investigating officer who

cross-examined Lloyd in the disciplinary hearing was a predecessor in interest to the private

plaintiff, Alvarez, and thus, Lloyd’s testimony was admissible in the later civil suit under Rule

804(b)(1). Id. at 1185-86. Though the investigating officer and Alvarez sought different outcomes

and pursued different causes of action, they shared a similar motive to develop Lloyd’s testimony

because they shared a “basic interest” of “determining culpability . . . for the same condemned

behavior.” Id. at 1186. The Third Circuit rejected the district court’s “strict view” of Rule

804(b)(1) and called for a new trial because “the excluded evidence [was] of such potential

importance.” Id. at 1182, 1185.



                                                  6
          Case 2:16-cv-00287-cr Document 270 Filed 07/01/20 Page 8 of 13




        Similarly, in Zola v. Gordon, two defendants faced civil allegations of misappropriation,

fraud, and forgery. 1993 WL 247821, at *4 (S.D.N.Y. June 30, 1993). Those same two parties

had previously faced criminal charges in a separate proceeding involving a larger group of

defendants and different underlying causes of action, including a single count of conspiracy and

107 counts of filing false tax returns. Despite these significant differences between the criminal

and civil actions, the court found that criminal defendants in the first case were predecessors in

interest to the defendants in Zola for purposes of Rule 804(b)(1), for testimony relevant to topics

that overlapped in each litigation. In reaching this conclusion, the court rejected defendants’

argument that the theories and issues in the two cases were too dissimilar to warrant admission of

large swaths of testimony from the criminal case in the subsequent civil case. 1993 WL 247821,

at *4 (further reasoning that the “minimal amount of cross-examination” by the defendants in the

criminal action “does not shed any light upon the question of similarity of motivation”). Because

the two cases enjoyed a small set of common allegations—that plaintiffs paid defendants

artificially inflated prices and relied upon a third party to further their scheme—the court found

the similar motive requirement satisfied for substantial portions of the testimony at issue, and

admitted the relevant criminal-case testimony from the first action against the defendants in the

civil case under Rule 804(b)(1). 1993 WL 247821, at *4-8.

        The principles governing Lloyd and Zola apply even more strongly here. Because the issue

of whether Midland and Cloverland were viable options for farmers’ milk was central in both Allen

and the instant case, the class in Allen had a similar motive as plaintiffs here to develop testimony

on the issue, and the Allen class is plaintiffs’ predecessor in interest with respect to this issue. The

Midland and Cloverland testimony is thus admissible pursuant to Rule 804(b)(1).




                                                   7
          Case 2:16-cv-00287-cr Document 270 Filed 07/01/20 Page 9 of 13




       C.      Class Counsel Had A Full Opportunity To Test The Deponents’ Testimony
               Regarding Farmers’ Options for Selling Milk

       Plaintiffs’ argument that they lacked an opportunity to examine Midland and Cloverland

regarding their role as competitors to DFA is similarly unavailing. The relevant question is not

whether each individual plaintiff here had a unique opportunity to cross examine these witnesses

in Allen or whether the attorneys in Sitts personally participated in drafting Federal Rule of Civil

Procedure 30(b)(6) topics for these entities. The question is whether the class had ample

opportunity to examine Mr. Cella and Mr. Haseotes on the relevant topic—whether Midland and

Cloverland competed as buyers against DFA and served as options in Order 1 for plaintiffs’ raw

milk outside of DFA. It plainly did. Plaintiffs complain that had they “been able to attend and

cross-examine at these depositions, they would have probed whether these processing plants were

actual options for independent farmers.” Pls.’ Mot. at 3 n.1. But that is precisely what Class

Counsel did in Allen.5 In fact, class plaintiffs cross-examined Midland and Cloverland regarding

farmers’ options fully and incorporated those witnesses’ ensuing testimony into the class’s

subsequent summary judgment pleadings to dispute DFA’s claim that Cloverland, Midland, and

various other processors serve as viable options for independent farmers in Order 1. See SOF

Resp. ¶¶ 41-68. This is all the “opportunity” that Rule 804(b)(1) requires. To the extent the current

plaintiffs would have preferred the class to question the witnesses differently, that is irrelevant to

the Rule 804(b)(1) inquiry. See DeLuryea v. Winthrop Labs., 697 F.2d 222, 227 (8th Cir. 1983)

(plaintiff’s counsel’s “decision to limit cross-examination” during a workers compensation hearing

did not “bar use of the former testimony” during a products liability action years later, “even



5
        See, e.g., Ex. 2, Haseotes Dep. 49:2-20, 51:17-22, 55:3-57:22, 74:18-77:6 (exploring
Midland’s supply, capacity, and solicitation of farmers in the Northeast); see, e.g., Ex. 1, Cella
Dep. 76:3-77:15, 78:3-79:20 (probing Cloverland’s efforts and abilities to effectively compete
against other buyers for farmers’ raw milk).


                                                  8
         Case 2:16-cv-00287-cr Document 270 Filed 07/01/20 Page 10 of 13




though [plaintiff] might later have desired fuller cross-examination”); id. (finding sufficient

opportunity under Rule 804(b)(1) where counsel asked a single, on-topic question and noting that

“[o]pportunity and motivation to cross-examine are the important factors, not the actual extent of

cross-examination.”). Indeed, plaintiffs do not cite a single case to the contrary. Because Class

Counsel had ample opportunity to test the deponents’ testimony regarding independent farmers’

options for selling their milk in Order 1—and did just that—the Rule 804(b)(1) test is more than

satisfied for Mr. Cella’s and Mr. Haseotes’ testimony here.6

II.    THE PROBATIVE VALUE OF THE MIDLAND AND CLOVERLAND
       TESTIMONY VASTLY OUTWEIGHS ANY PREJUDICE TO PLAINTIFFS

       Plaintiffs’ Rule 403 argument also fails. According to plaintiffs, the Court should exclude

the deposition testimony of Midland and Cloverland at trial under Rule 403 “because Plaintiffs

never had an opportunity to cross-examine” the deponents. Pls. Mot. at 3 n.1. But this is not the

law, which requires only that plaintiffs’ predecessor in interest (the class) had an opportunity to

depose Midland and Cloverland. Plaintiffs again fail to cite a single case to support their position.

       Regardless, the highly probative value of the Midland and Cloverland testimony far

outweighs any prejudice to plaintiffs. In illuminating farmers’ options for their milk in Order 1—

and the competition between Midland, Cloverland, and DFA during the damages period in the

case—this testimony goes to the core of plaintiffs’ monopsony claims, which depend upon a theory



6
        Plaintiffs also argue that class counsel did not have a sufficient opportunity to cross
examine Midland’s representative, Mr. Haseotes, because that deposition was suspended early.
But that ignores what happened: the class plaintiffs suspended the deposition of Mr. Haseotes
solely over a dispute about Mr. Haseotes’ ability to provide his lay opinion of the merits of
plaintiffs’ antitrust claims against DFA. By that point in the deposition, the class plaintiffs had
already completed an examination of Mr. Haseotes on the only topic that is relevant here: the
details of whether or not and how Midland competed against DFA for farmers and / or constituted
a viable alternative option for farmers in Order 1. This outcome of the deposition thus has no
bearing on whether the class enjoyed an ample opportunity to examine the witness on the relevant
issue for Rule 804(b)(1) purposes here; it did.


                                                 9
Case 2:16-cv-00287-cr Document 270 Filed 07/01/20 Page 11 of 13
        Case 2:16-cv-00287-cr Document 270 Filed 07/01/20 Page 12 of 13




Dated: July 1, 2020                            Respectfully submitted,

                                               /s/ Alfred C. Pfeiffer Jr.
                                              Alfred C. Pfeiffer Jr. (admitted pro hac vice)
                                              Sarah M. Ray (admitted pro hac vice)
                                              LATHAM & WATKINS LLP
                                              505 Montgomery Street, Suite 2000
                                              San Francisco, CA 94111
                                              Telephone: 415-391-0600
                                              Facsimile: 415-395-8095
                                              Email: al.pfeiffer@lw.com
                                              Email: sarah.ray@lw.com
                                              Margaret M. Zwisler (admitted pro hac vice)
                                              Jennifer L. Giordano (admitted pro hac vice)
                                              Molly M. Barron (admitted pro hac vice)
                                              LATHAM & WATKINS LLP
                                              555 Eleventh Street, NW, Suite 1000
                                              Washington, DC 20004
                                              Telephone: 202-637-2200
                                              Facsimile: 202-637-2201
                                              Email: margaret.zwisler@lw.com
                                              Email: jennifer.giordano@lw.com
                                              Email: molly.barron@lw.com

                                              W. Todd Miller (admitted pro hac vice)
                                              BAKER & MILLER PLLC
                                              2401 Pennsylvania Avenue, NW, Suite 300
                                              Washington, DC 20037
                                              Telephone: 202-663-7820
                                              Facsimile: 202-663-7849
                                              Email: tmiller@bakerandmiller.com

                                              Ian P. Carleton
                                              SHEEHEY FURLONG & BEHM P.C.
                                              30 Main Street, P.O. Box 66
                                              Burlington, VT 05402
                                              Telephone: 802-864-9891
                                              Email: icarleton@sheeheyvt.com

                                              Counsel for Defendants Dairy Farmers of
                                              America, Inc. and Dairy Marketing Services,
                                              LLC

Civ. P. 32(a)(1)(A), (a)(8); see generally Fed. Hous. Fin. Agency v. Merrill Lynch & Co., 2014
WL 798385, at *1 (describing independence of and similarity between Fed. R. Civ. P. 32(a)(8)
and Fed. R. Evid. 804(b)(1) standards and analyses).


                                             11
         Case 2:16-cv-00287-cr Document 270 Filed 07/01/20 Page 13 of 13




                               CERTIFICATE OF SERVICE

       I hereby certify that on July 1, 2020, I electronically filed with the Clerk of Court the
foregoing document using the CM/ECF system and the below parties via email. The CM/ECF
system will provide service of such filing via Notice of Electronic Filing (NEF) to the following
NEF parties:

       Joel G. Beckman, Esq. (jbeckman@nbparis.com)
       Gary L. Franklin, Esq. (gfranklin@primmer.com)
       William C. Nystrom, Esq. (wnystrom@nbparis.com)
       Elizabeth A. Reidy, Esq. (ereidy@nbparis.com)
       Dana A. Zakarian, Esq. (dzakarian@nbparis.com)

Dated: July 1, 2020
                                                    /s/ Alfred C. Pfeiffer Jr.
                                                    Alfred C. Pfeiffer Jr. (admitted pro hac vice)
                                                    LATHAM & WATKINS LLP
                                                    505 Montgomery Street, Suite 2000
                                                    San Francisco, CA 94111
                                                    Telephone: 415-391-0600
                                                    Facsimile: 415-395-8095
                                                    Email: al.pfeiffer@lw.com
